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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SOMMER MILLER                             :         CIVIL ACTION
                                          :
             v.                           :
                                          :
THE CITY OF PHILADELPHIA, et al           :         NO. 21-619

                                     ORDER


             AND NOW, this 25th day of August 2022, with consent of all parties in the

above-captioned matter, it is hereby ORDERED that Defendant SHERIFF ROCHELLE BILAL,

is DISMISSED with prejudice.



                                BY THE COURT:



                                /s/ Carol Sandra Moore Wells
                                CAROL SANDRA MOORE WELLS
                                UNITED STATES MAGISTRATE JUDGE
